
HAMLIN, Justice.
In the exercise of our supervisory control (Article VII, Section 11, Louisiana Constitution of 1921-LSA), we granted certiorari to the Court of Appeal, First Circuit, in order that we might review its judgment holding that the right of a widow in necessitous circumstances to demand $1,000 from the succession of her deceased husband under Article 32521 of the LSA-Civil Code constitutes a privilege — which neither prescribes in three months nor three years under the provisions of the Revised Civil Code — for which the property of the succession is liable for payment.
Isaac Washington, Sr., died on June 8, 1953, survived by his second wife, Louvenia Ellis Washington; three children, Isaac Washington, Jr., Willie Washington, and Lucille Washington Burgess Williams, who died September 25, 1953, leaving as her only heir, Noah Burgess; and two grandchildren, Ruth Wade King and Gladys Wade Green. On November 10, 1954, by judgment of the Nineteenth Judicial District Court for the Parish of East Baton Rouge, the two living children and three grandchildren of Isaac Washington, Sr., were sent into possession of his property. All property owned by the Succession of Isaac Washington, Sr., belonged to the community which had existed between him and his first wife, Lizzie Leomens Washington, who predeceased him. (Because of our conclusions herein, we are not called on to determine whether the whole community or only one-half of it could be involved in these proceedings. Danna v. Danna, La.App., 161 So. 348; Succession of Harper, La.App., 163 So. 177.)
*493Listed in the assets of the succession was Lot Number 43 of Progress Park Subdivision, together with all of the buildings and improvements located thereon. On November 21, 1954, Isaac Washington, Jr., purchased from his co-heirs their individual rights, title, and interest in this property, which bore the Number 1006 Progress Street, placing a mortgage thereon to satisfy the purchase price.
On March 11, 1957, Louvenia Washington brought suit against the heirs of Isaac Washington, Sr. She alleged that they were indebted to her in the sum of $1,669.64, composed of $1,000, a widow’s portion under Article 3252, LSA-Civil Code; $269.64, a paving assessment due by Lot 43, Progress Park Subdivision, paid by her on March 25, 1954 to the Director of Finance of the City of Baton Rouge and Parish of East Baton Rouge, for which she had received a certificate of subrogation; and $400, burial expenses paid by her on June 9, 1953 to Scott’s Bluff Morticians, Scotlandville, Louisiana, for the burial of Isaac Washington, Sr. Alternatively, plaintiff alleged that she was entitled to the marital portion under Article 2382 of the LSA-Civil Code, as Isaac Washington, Sr., died rich and left her relatively poor. She prayed for general and equitable relief but did not pray for recognition or enforcement of any privilege of any type or kind.
Isaac Washington, Jr., Noah Burgess, and Gladys Wade Green (hereinafter referred to as defendants)2 filed an exception of prescription under Articles 14563 and 3538 4 of the LSA-Civil Code and exceptions of no cause of action and no right of action, which were overruled.
Defendants answered in the form of a general denial.
Isaac Washington, Jr., reconvened, averring that plaintiff was indebted to him for $1,850.
On October 16, 1958, the trial court awarded plaintiff $890.73, stating in its judgment :
“After considering the law and the evidence, arguments of counsel and the brief submitted, the Court is of the opinion that plaintiff is entitled to judgment on main demand in the amount of One Thousand and no/100 ($1,000.00) Dollars, plus the sum of Two Plundred, Sixty-Nine and 64/100 ($269.64) Dollars, for reimbursement of payment of paving liens on the property, less a credit for the value of the property owned by her at the time of the death of decedent of Two Hundred, Thirty-One and 01/100 ($231.01) Dollars, and less a further credit of One Hundred, Forty-Seven and 90/100 ($147.90) Dollars, owed by her to the defendant for rent of the premises after the date of death of Isaac Washington, Sr.”5
After the rendition of the above judgment, plaintiff secured the issuance of a writ of fieri facias against the Progress Street property, supra, for its execution. Defendant Isaac Washington, Jr., deposited in the registry of the lower court $325.35 (alleged to represent one-third of the principal, interest, and costs of court due under the above judgment), and filed pleadings which he titled: “Motion for Discharge From Writ of Fi Fa Issued by Clerk of Court Against Isaac Washington,-Jr., and Motion for Recall, Withdrawal and Cancellation of Writ of Fi Fa Issued by Clerk of Court Insofar as It Affects Isaac Washington, Jr., and Motion for Issuance of Rule Nisi Ordering Plaintiff to Show Cause *494Why Sum Deposited in Registry of Clerk of Court Should Not Be Accepted as Full Payment of All Sums Owed Under Judgment Rendered in Above Numbered and Entitled Matter, and Motion for Cancellation of Lis Pendens Filed by Plaintiff.”
On trial of the above pleadings, the district court found that since plaintiff did not pray for recognition of any privilege on the property of the Succession of Isaac Washington, Sr. and since the judgment, supra, rendered in her favor neither granted recognition of any privilege nor condemned the defendants jointly and in solido, each defendant was only liable for his or her virile share of the judgment.
On February 16, 1959, Isaac Washington, Jr., also filed a motion to deposit costs amounting to $55.34 in the registry of the court, praying that after all legal proceedings had, he be discharged from further payment of any and all other costs incurred in the matter.
On February 16, 1959, the trial court rendered the following judgment:
“It is ordered, adjudged and decreed that the rules issued herein be made absolute to the extent that upon payment by Isaac Washington, Jr. of one-third (i/z) of the face amount of the said judgment with costs and interest, the writ of fieri facias issued herein be recalled and cancelled insofar as it affects Isaac Washington, Jr. and property owned by him, and that the notice of Lis Pendens filed herein by and on behalf of Louvenia Washington against Isaac Washington, Jr. and his property be cancelled, and the judgment rendered herein, dated October 16, 1958, be cancelled insofar as it affects Isaac Washington, Jr. and his property.”
On March 9, plaintiff filed a supplemental petition, in which she prayed for judgment “against Isaac Washington, Jr., Noah Burgess, and Gladys Wade Green, recognizing the judgment for the full sum of $890.73. with legal interest thereon from the date of judicial demand until paid, and for all costs of these proceedings as a lien and privilege specified under Article 3252 of the Louisiana Civil Code as amended, that the petitioner’s lien and privilege resulting from the recognition of the judgment herein on all the property herein above specified be enforced, that the said property be sold, if necessary to satisfy said judgment, and that petitioner’s claim, interest and costs, be paid by preference and priority over all creditors of said defendants, out of the proceeds of said sale.”
To plaintiff’s supplemental petition, Isaac Washington, Jr., filed exceptions of no cause and no right of action and an exception of Res Judicata.
On May 27, 1959, the trial court sustained and maintained the exceptions and dismissed plaintiff’s supplemental petition at her costs.
On May 11, 1959, the trial court rendered an “Amended Judgment on Rule”, in which it ordered that the judgment of October 16, 1958 be cancelled insofar as it affected Isaac Washington, Jr. and his property, namely, Lot Number 43, Square 2, Progress Park, East Baton Rouge Parish, Louisiana, and authorized and directed the Clerk of Court to make such cancellation. The minutes of court recite that an order of suspensive and in the alternative a de-volutive appeal was entered from the judgment of May 11, 1959. An appeal bond was furnished on May 18, 1959. The opinion of the Court of Appeal states that it is the judgment rendered on February 16, 1959 upon which this appeal was taken.
The Court of Appeal6 overruled the rules to show cause brought by Isaac Washington, Jr., stating that in its opinion the lower court erred in holding the property in question liable only for one-third of the face amount of the judgment rendered in favor of petitioner. It felt that the privilege ex*495isted on the property prior to the sale thereof by the other heirs to Isaac Washington, Jr. and that the sales were burdened by the privilege affecting the interest of each of the vendors. In arriving at this conclusion, the Court of Appeal considered these two questions:
(1) Prescription — Did petitioner’s rights prescribe by virtue of the fact that more than three months elapsed between the acceptance of the Succession of Isaac Washington, Sr. and the bringing of the present suit to determine whether or not petitioner was entitled to the widow’s portion ?
(2) Was the privilege of the widow’s portion actually present in the instant suit?
The first question was answered negatively ; the second affirmatively.
On this review, relator, Isaac Washington, Jr., alleges that the findings of the Court of Appeal were erroneous. He also contends that if this Court allows the judgment of the Court of Appeal to stand, it will, in effect, allow the property of one judgment debtor to be seized and sold to satisfy the obligations of all the judgment debtors when the original judgment only cast the debtors each for their virile share.
Counsel for Louvenia Washington, in his brief, states that the issue to be decided by this Court is whether or not the petitioner’s right to claim the widow’s portion has prescribed prior to the filing of the present suit, as well as whether or not the privileges afforded the widow would bear against the property which is now owned by Isaac Washington, Jr., the property having been purchased from the other heirs to the Succession of Isaac Washington.
Amicus Curiae has filed a brief in this Court, wherein it is alleged:
“Article 1458 states that succession property cannot be sold within ninety (90) days from acceptance. The same rule is established in Article 3275. The purpose of these articles is1 to afford time to creditors to file a petition for separation of patrimony. After this ninety (90) day period, however, the heir is at liberty to sell and the public is at liberty to buy. The effect of the decision of the Court of Appeal in the instant case, however, is to amend these Articles so as to effectively prevent an heir from selling inherited separate property so long as there is a widow alive who may at sometime in the future claim a privilege for a widow’s homestead. It is believed that such an interpretation does violence to our system of succession laws.”
It must be remembered that there has been no appeal from the judgment for $890.73, rendered October 16, 1958. Therefore, this judgment is final as to its amount. We have before us only the question of the privileges arising from the judgment.
A consideration as to whether the articles of the Revised Civil Code with respect to the separation of patrimony apply to the present proceeding discloses that Article 1456 of the LSA-Civil Code, supra, which provides that the suit of separation of patrimony must be instituted within three months from the express or tacit acceptance of the heirs is found in that part of the Civil Code which treats of the payment of the debts of a succession. Article 1444, LSA-R.C.C., recites that the creditors of the succession may demand, in every case and against every creditor of the heir, a separation of the property of the succession from that of the heir. In other words, the purpose of the separation of patrimony is to separate the property of the heir from that of the succession of the deceased. The object of the separation of patrimony is to prevent property, out of which a particular class of creditors have a right to be paid, from being confounded with other property, and by that means made liable to the debts of another class of creditors, LSA-C.C., Art. 1445. The effect of the demand on the part of the creditors of a succession is to cause them to be paid from the effects of the *496succession in preference to the creditors of the heir. LSA-C.C., Art. 1446. The separation may be demanded by all the creditors of the deceased, whatever they may be. LSA-C.C., Art. 1447. The right to demand the separation of patrimony is extended to legatees and to heirs. LSA-C.C., Arts. 1449 and 1450. “In the interval between the opening of the succession and the three months allowed for the institution of the suit for the separation of the patrimony, the heir can not alienate, affect nor [or] sell the effects of the succession, nor [or] any of them to the prejudice of the creditors; and if he does it, the creditors may cause the acts to be declared null, as done in fraud of their rights.” Art. 1458, LSA-C.C. Creditors and legatees who demand a partition of the patrimony of the deceased preserve their privilege as against the heirs or representatives of the deceased on the immovables of the succession only by recording the evidences of their claims against the succession within three months after it is opened. LSA-C.C., Art. 3275. Until the expiration of the three months, no mortgage can be enforced against the property, nor any alienation be made by the heirs or representatives of the deceased, to the injury of the creditors of the succession. LSA-C.C., Art. 3275.
We believe that the aforesaid articles of the Revised Civil Code apply to plaintiff herein. Her right to claim the $1,000.00 portion under Article 3252 of the LSA-Civil Code came into existence at the moment of her husband’s death. Her status was determined as of that date. Succession of Kuntz, La.App., 179 So. 623. During the three months elapsing after the heirs of Isaac Washington, Sr. accepted his succession unconditionally, plaintiff was favored with a special privilege which did not have to be recorded. LSA-Civil Code, Article 3276 7; Article XIX, Sec. 19, Louisiana Constitution of 1921.8 In order to remain alive after the three month interval, however, the privilege had to be asserted against the heirs of Isaac Washington, Sr., within that interval. Such assertion could have been by an action for separation of patrimony. If plaintiff believed that the heirs of Isaac Washington, Sr., had embarrassing debts which could absorb their inheritance, it was incumbent upon her as a special creditor to petition the proper court for preservation of her rights. Rapides Grocery Co. v. Vann, 230 La. 829, 89 So.2d 359. The legal effect of a delay of more than three months to bring such action was the loss of the privilege and the relegation of plaintiff to the position of an ordinary creditor. Danna v. Danna, La.App., 161 So. 348.
The defendant Isaac Washington, Jr., was one of several heirs of the decedent and as such inherited only a fractional part of the decedent’s estate. His liability extended to his virile share of the debts of the succession, including the widow’s portion. Normand v. Thompson, 2 La.App. 413; Carroll v. Carroll’s Heirs, 16 La.*497App. 278, 134 So. 290; Article 1427, LSA-C.C.
After the lapse of three months from the time he accepted the succession of his father unconditionally, Isaac Washington, Jr., became a third party quoad the plaintiff widow. The property which he had purchased from his co-heirs became immune from the assertion of her alleged privilege.
Notwithstanding the provisions of Article 3276 of the LSA-Civil Code that the charge against a succession for the thousand dollars secured in certain cases to a widow need not be recorded, and the provisions of Article XIX, Sec. 19, Louisiana Constitution of 1921, that privileges arising upon the death of the owner of property affected need not be recorded, we conclude that the widow claiming her privilege or charge for a thousand dollars under Article 3252 of the LSA-Civil Code must assert her claim within three months from the express or tacit acceptance of the succession by the heirs. We do not agree with the findings of our learned brothers of the Court of Appeal in the case of Beck v. Beck, 181 So. 635, to the contrary.
We have searched for and have been unable to find any provision of our law relating specifically to the prescription of the privilege granted a widow under Article 3252 of the LSA-Civil Code. Reason dictates and justice demands that we find that plaintiff did not timely assert her privilege and has lost it. Danna v. Danna, supra. A contrary holding would permit a widow to hold a sword over the estate of her deceased husband for an unreasonable length of time9 and thereby subject titles to real property to question.
For the reasons assigned, the judgment of the Court of Appeal, First Circuit, is reversed and set aside. The judgment of the trial court is affirmed. All costs are to be paid by plaintiff.

. “Whenever the widow or minor children of a deceased person shall be left in necessitous circumstances, and not possess in their own rights property to the amount of One Thousand Dollars, the widow or the legal representatives of the children, shall be entitled to demand and receive from the succession of the deceased husband or father, a sum which added to the amount of property owned by them, or either of them, in their own right, will make up the sum of one thousand dollars, and which amount shall be paid in preference to all other debts, except those secured by the vendor’s privilege on both movables and immovables, conventional mortgages, and expenses incurred in selling the property. * * *»


. Willie Washington died on or about November 8, 1957. No mention is made of Ruth Wade King.


. “The suit of separation of patrimony must be instituted within three months from the express or tacit acceptance of the heirs; after the expiration of this term, it is not admitted.” Art. 1456, LSA-C.C.


. Article 3538 of the LSA-Civil Code provides for the prescription of three years on certain types of accounts.


. $1,269.64 less $378.91 equals $890.73.


. 116 So.2d 125.


. “The charges against a succession, such as funeral charges, law charges, lawyers’ fees for settling the succession, the thousand, dollars secured, in certain cases to the widow or minor heirs of the deceased, and - all claims against the succession originating after the death of the person whose succession is under administration, are to be paid before the debts contracted by the deceased person, except as otherwise provided for herein, and they are not required to he recorded.” (Emphasis ours.) Art. 3276, LSA-C.O.


. “No mortgage or privilege on immovable property, or debt for which preference may he granted hy law, shall af-feet third persons unless recorded or registered in the parish where the property is situated, in the manner and within the time prescribed by law, except privileges for expenses of last illness, privileges arising upon the death of the owner of the property affected, and privileges for taxes, State, parish and municipal; provided such tax liens, mortgages and privileges shall lapse in three years from the 31st day of December in the year in which the taxes are due; and whether such liens are now or hereafter recorded; * * * ”. (Emphasis ours.) Art. XIX, See. 19, La.Const. of 1921.


. LSA-Civil Code Article 8544 provides that, in general, all personal actions, except those before enumerated, are prescribed by ten years.


. The article declares that the widow’s homestead “ * * * shall be paid in preference to all other [succession] debts, except those secured by the vendor’s privilege on both movables and im-movables, conventional mortgages, and expenses incurred in selling the property.”

